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CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
Atlas Data Privacy Corp, et al. v. The Alesco Group, L.L.C., et al.

APPEAL FROM DISTRICT COURT:
District: New Jersey

D.C. Docket No.: 1:24-cv-05656-HB

Date proceedings initiated in D.C.: April 26, 2024

Date Notice of Appeal filed: March 31, 2025

USCA No.: 25-1585

COUNSEL ON APPEAL

Appellant(s): The Alesco Group, L.L.C.
Name of Counsel: Kelly M. Purcaro and Kory Ann Ferro, Greenspoon Marder LLP

Name of Party(ies): The Alesco Group, L.L.C.

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For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
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Is this a Cross-Appeal? Yes [_] No
Appeals Docket No.:

Was there a previous appeal in case? Yes [_] No
If yes, Short Title:

Appeals Docket No.:

Citation, if reported:

To your knowledgaS@'tferdaey cahkagursehdife oF ANF OAS EHEGe Gd 19 eQurt or any other

court or administrative agency which:

a) Arises from substantially the same case or controversy as this appeal? Yes No [_]
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
Yes No[_]
If you answered yes to either “a” or “b” please provide:
Case Name: See attached
D.C. Docket No.:
Court or Agency:
Docket Number:
Citation, if reported:
NATURE OF SUIT
(Check as many as apply)
1. FEDERAL STATUTES [ JASSAULT/DEFAMATION
[ JANTITRUST [_ ]PRODUCT LIABILITY/WARRANTY
| |JBANKRUPTCY | |DIVERSITY
| IBANKS & BANKING | JOTHER Specify:
| _|CIVIL RIGHTS
[| ]JCOMMERCE, ROUTES, AND TARIFFS 3. CONTRACTS
| |COMMODITIES | JADMIRALTY/MARITIME
| |COMMUNICATIONS | J|ARBITRATION
| |CONSUMER PROTECTION | |COMMERCIAL
[ |COPYRIGHT | JEMPLOYMENT
| |PATENT | JINSURANCE
[| |JTRADEMARK | JNEGOTIABLE DISBURSEMENTS
| JELECTION [ JOTHER Specify:
[ JENERGY
| JENVIRONMENTAL 4. PRISONER PETITIONS
[_ ]FOIA FREEDOM OF INFORMATION [_]CIVIL RIGHTS
| JIMMIGRATION [ ]VACATE SENTENCE 2255
[| |LABOR [| JHABEAS CORPUS 2254
[ JOSHA [ JHABEAS CORPUS 2241
[_]SECURITIES | JMANDAMUS/PROHIBITION
[_ ]SOCIAL SECURITY [_]JOTHER Specify:
[ |TAX
[| JEQUAL ACCESS TO JUSTICE 5. OTHER
[_]OTHER Specify: [_ ]FORFEITURE
[_|CIVIL GRAND JURY
2. TORTS [_]TREATY Specify:
[ JADMIRALTY [VJOTHER Specify: Daniel's Law

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
114th day of Apri 20 25

Signature of Counsel:/S/ Kelly M. Purcaro. Esq.

Case: 25-1585 Document:16 Page:3 Date Filed: 04/11/2025

COUNSEL ON APPEAL

(Continued from page 1 of Civil Appeal Information Sheet)

For Appellee(s):

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Name of Party(ies): Atlas Data Privacy Corp, et al.

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CASES INVOLVING SIMILAR ISSUES AND CONTROVERSIES

Continued from page 2 of Civil Appeal Information Sheet

Note: Cases that are currently dismissed for lack of prosecution are denoted with an *

Cases in which judgment by default has been entered are denoted with an **

Case Name:
Appellate Docket:
D.C. Docket No.:

Court or Agency No.:

Docket Number:

Citation, if reported:

Atlas Data Privacy Corporation, et al. v. We Inform, LLC, et al.
25-1555

1:24-cv-04037

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County

MRS-L-000379-24

N/A

Case Name:
Appellate Docket:
D.C. Docket No.:

Court or Agency No.:

Docket Number:

Citation, if reported:

Atlas Data Privacy Corporation, et al. v. Infomatics LLC, et al.
25-1555

1:24-cv-04041

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County

BER-L-000872-24

N/A

Case Name:

Appellate Docket:
D.C. Docket No.:

Court or Agency No.:

Docket Number:
Citation, if reported:

Atlas Data Privacy Corporation, et al. v. The People Searchers,
LLC, et al.

25-1557

1:24-cv-04045

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County

MRS-L-000257-24

N/A

Case Name:

Appellate Docket:
D.C. Docket No.:

Court or Agency No.:

Docket Number:
Citation, if reported:

Atlas Data Privacy Corporation, et al. v. Deluxe Corporation, et
al.

25-1559

1:24-cv-04080

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County

BER-L-000821-24

N/A

Case Name:

Appellate Docket:
D.C. Docket No.:

Court or Agency No.:

Atlas Data Privacy Corporation, et al. v. Quantarium Alliance,
LLC, et al.

25-1560

1:24-cv-04098

Case: 25-1585

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District of New Jersey removed from Superior Court of New

Docket Number: Jersey, Law Division, Bergen County
Citation, if reported: BER-L-000878-24
N/A
6. Case Name: Atlas Data Privacy Corporation, et al. v. Yardi Systems, Inc., et
al.
Appellate Docket: 25-1561
D.C. Docket No.: 1:24-cv-04103
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000856-24
Citation, if reported: N/A
7. Case Name: Atlas Data Privacy Corporation, et al. v. Digital Safety Products,
LLC, et al.
Appellate Docket: 25-1562
D.C. Docket No.: 1:24-cv-04141
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-0008 14-24
Citation, if reported: N/A
8. Case Name: Atlas Data Privacy Corporation, et al. v. Civil Data Research,
LLC, et al.
Appellate Docket: 25-1563
D.C. Docket No.: 1:24-cv-04143
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000292-24
Citation, if reported: N/A
9. Case Name: Atlas Data Privacy Corporation, et al. v. Scalable Commerce,
LLC, et al.
Appellate Docket: 25-1564
D.C. Docket No.: 1:24-cv-04160
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-771-24
Citation, if reported: N/A
10. | Case Name: Atlas Data Privacy Corporation, et al. v. Labels & Lists, Inc., et
al.
Appellate Docket: 25-1565

D.C. Docket No.:

Court or Agency No.:

1:24-cv-04174

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Docket Number:

Citation, if reported:

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County

BER-L-0008 12-24

N/A

11. | Case Name: Atlas Data Privacy Corporation, et al. v. Innovis Data Solutions,
Inc., et al.
Appellate Docket: 25-1566
D.C. Docket No.: 1:24-cv-04176
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000285-24
Citation, if reported: N/A
12. | Case Name: Atlas Data Privacy Corporation, et al. v. Accurate Append, Inc.,
et al.
Appellate Docket: 25-1567
D.C. Docket No.: 1:24-cv-04178
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-000848-24
Citation, if reported: N/A
13. | Case Name: Atlas Data Privacy Corporation, et al. v. Zillow, Inc., et al.
Appellate Docket: 25-1568
D.C. Docket No.: 1:24-cv-04256
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000874-24
Citation, if reported: N/A
14. | Case Name: Atlas Data Privacy Corporation, et al. v. Equimine, Inc. d/b/a
Propstream, et al.
Appellate Docket: 25-1569
D.C. Docket No.: 1:24-cv-04261
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000535-24
Citation, if reported: N/A
15. | Case Name: Atlas Data Privacy Corporation, et al. v. Thomson Reuters
Corporation, et al.
Appellate Docket: 25-1570
D.C. Docket No.: 1:24-cv-04269
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000320-24

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Citation, if reported:

N/A

16. | Case Name: Atlas Data Privacy Corporation, et al. v. Melissa Data Corp, et
al.
Appellate Docket: 25-1571
D.C. Docket No.: 1:24-cv-04292
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000224-24
Citation, if reported: N/A
17. | Case Name: Atlas Data Privacy Corporation, et al. v. Restoration of America,
et al.
Appellate Docket: 25-1572
D.C. Docket No.: 1:24-cv-04324
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-0005 10-24
Citation, if reported: N/A
18. | Case Name: Atlas Data Privacy Corporation, et al. v. i360, LLC, et al.
Appellate Docket: 25-1573
D.C. Docket No.: 1:24-cv-04345
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000297-24
Citation, if reported: N/A
19. | Case Name: Atlas Data Privacy Corporation, et al. v. Gohunt, LLC, et al.
Appellate Docket: 25-1574
D.C. Docket No.: 1:24-cv-04380
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000870-24
Citation, if reported: N/A
20. | Case Name: Atlas Data Privacy Corporation, et al. v. Accuzip, Inc., et al.
Appellate Docket: 25-1575
D.C. Docket No.: 1:24-cv-04383
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000554-24
Citation, if reported: N/A
21. | Case Name: Atlas Data Privacy Corporation, et al. v. Synaptix Technology,

LLC, et al.

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Appellate Docket:
D.C. Docket No.:

Court or Agency No.:

Docket Number:
Citation, if reported:

25-1576

1:24-cv-04385

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County

MER-L-000288-24

N/A

22. | Case Name: Atlas Data Privacy Corporation, et al. v. Joy Rockwell
Enterprises, Inc., et al.
Appellate Docket: 25-1577
D.C. Docket No.: 1:24-cv-04389
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000486-24
Citation, if reported: N/A
23. | Case Name: Atlas Data Privacy Corporation, et al. v. Fortnoff Financial, LLC,
et al.
Appellate Docket: 25-1578
D.C. Docket No.: 1:24-cv-04390
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000284-24
Citation, if reported: N/A
24. | Case Name: Atlas Data Privacy Corporation, et al. v. Myheritage, LTD., et al.
Appellate Docket: 25-1579
D.C. Docket No.: 1:24-cv-04392
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000282-24
Citation, if reported: N/A
25. | Case Name: Atlas Data Privacy Corporation, et al. v. E-Merges.com, Inc., et
al.
Appellate Docket: 25-1580
D.C. Docket No.: 1:24-cv-04434
Court or Agency No.: District of New Jersey removed Superior Court of New Jersey,
Law Division, Bergen County
Docket Number: BER-L-000854-24
Citation, if reported: N/A
26. | Case Name: Atlas Data Privacy Corporation, et al. v. Nuwber, Inc., et al.
Appellate Docket: 25-1581

D.C. Docket No.:

Court or Agency No.:

1:24-cv-04609

Case: 25-1585

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Docket Number:

Citation, if reported:

District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County
MRS-L-000225-24

N/A
27. | Case Name: Atlas Data Privacy Corporation, et al. v. Rocketreach LLC, et al.
Appellate Docket: 25-1582
D.C. Docket No.: 1:24-cv-04664
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000873-24
Citation, if reported: N/A
28. | Case Name: Atlas Data Privacy Corporation, et al. v. Belles Camp
Communications, Inc., et al.
Appellate Docket: 25-1583
D.C. Docket No.: 1:24-cv-04949
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000508-24
Citation, if reported: N/A
29. | Case Name: Atlas Data Privacy Corporation, et al. v. Propertyradar, Inc., et
al.
Appellate Docket: 25-1584
D.C. Docket No.: 1:24-cv-05600
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000293-24
Citation, if reported: N/A
30. | Case Name: Atlas Data Privacy Corporation, et al. v. Searchbug, Inc., et al.
Appellate Docket: 25-1586
D.C. Docket No.: 1:24-cv-05658
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-000904-24
Citation, if reported: N/A
31. | Case Name: Atlas Data Privacy Corporation, et al. v. Amerilist, Inc., et al.
Appellate Docket: 25-1587
D.C. Docket No.: 1:24-cv-05775
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-001052-24

Citation, if reported:

N/A

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32. | Case Name: Atlas Data Privacy Corporation, et al. vy. US Data Corporation,
et al.
Appellate Docket: 25-1588
D.C. Docket No.: 1:24-cv-07324
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000323-24
Citation, if reported: N/A
33. | Case Name: Atlas Data Privacy Corporation, et al. v. Compact Information
Systems, LLC
Appellate Docket: 25-1590
D.C. Docket No.: 1:24-cv-0845
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000534-24
Citation, if reported: N/A
34. | Case Name: Atlas Data Privacy Corporation, et al. v. Darkowl, LLC, et al.
Appellate Docket: 25-1591
D.C. Docket No.: 1:24-cv-10600
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Essex County
Docket Number: ESX-L-007210-24
Citation, if reported: N/A
35. | Case Name: Atlas Data Privacy Corporation, et al. v. Spy Dialer, Inc., et al.
Appellate Docket: 25-1592
D.C. Docket No.: 1:24-cv-11023
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000259-24
Citation, if reported: N/A
36. | Case Name: Atlas Data Privacy Corporation v. Lighthouse List Co., LLC
Appellate Docket: 25-1593
D.C. Docket No.: 1:24-ev-11443
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-1221-24
Citation, if reported: N/A
37. | Case Name: Atlas Data Privacy Corporation, et al. v. Corelogic, Inc., et al.
Appellate Docket: N/A

D.C. Docket No.:

1:24-cv-04230

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Court or Agency No.:

Docket Number:

Citation, if reported:

District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County

BER-L-000773-24

N/A

38. | Case Name: Atlas Data Privacy Corporation, et al. v. Lusha Systems, Inc., et
al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04184
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-0008 14-24
Citation, if reported: N/A
39. | Case Name: Atlas Data Privacy Corporation, et al. v. Atdata, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04447
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000867-24
Citation, if reported: N/A
40. | Case Name: Atlas Data Privacy Corporation, et al. v. LexisNexis Risk Data
Management, LLC et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-06160
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000875-24
Citation, if reported: N/A
41. | Case Name: Atlas Data Privacy Corporation, et al. v. Precisely Holdings,
LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04571
Court or Agency No.: Superior Court of New Jersey remanded back to Law Division,
Bergen County
Docket Number: BER-L-000819-24
Citation, if reported: N/A
42. | Case Name: Atlas Data Privacy Corporation, et al. v. Transunion, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 24-cv-04288
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-0008 10-24

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Citation, if reported:

N/A

43. | Case Name: Atlas Data Privacy Corporation, et al. v. Equifax, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04298
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000919-24
Citation, if reported: N/A
44. | Case Name: Atlas Data Privacy Corporation, et al. v. Choreograph LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04271
Court or Agency No.: District of New Jersey remanded back from Superior Court of
New Jersey, Law Division, Bergen County
Docket Number: BER-L-00920-24
Citation, if reported: N/A
45. | Case Name: Atlas Data Privacy Corporation, et al. v. Claritas, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04175
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000868-24
Citation, if reported: N/A
46. | Case Name: Atlas Data Privacy Corporation, et al. v. Oracle International
Corporation, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04112
District of New Jersey remanded back to Superior Court of New
Court or Agency No.: Jersey, Law Division, Bergen County
Docket Number: BER-L-000917-24
Citation, if reported: N/A
47. | Case Name: Atlas Data Privacy Corporation, et al. v. Re/Max, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04114
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-000871-24
Citation, if reported: N/A
48. | Case Name: Atlas Data Privacy Corporation, et al. v. Enformion, LLC, et al.
Appellate Docket: N/A

D.C. Docket No.:

1:24-cv-04110

Case: 25-1585

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Docket Number:

Citation, if reported:

District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Bergen County

BER-L-000767-24

N/A

49. | Case Name: Atlas Data Privacy Corporation, et al. v. Babel Street, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-10596
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Essex County
Docket Number: ESX-L-007260-24
Citation, if reported: N/A
50. | Case Name: Atlas Data Privacy Corporation, et al. v. Lightbox Parent, L.P.,
et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04105
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000309-24
Citation, if reported: N/A
51. | Case Name: Atlas Data Privacy Corporation, et al. v. Smarty, LLC, et al.
Appellate Docket: 25-1589
D.C. Docket No.: 1:24-cv-08075
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-0003 10-24
Citation, if reported: N/A
52. | Case Name: Atlas Data Privacy Corporation, et al. v. The Lifetime Value Co.
LIC, et al.*
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04850
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000272-24
Citation, if reported: N/A
53. | Case Name: Atlas Data Privacy Corporation, et al. v. Valassis Digital Corp.,
et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04770
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000290-24

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Case: 25-1585

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Citation, if reported:

N/A

54. | Case Name: Atlas Data Privacy Corporation, et al. v. Black Knight
Technologies, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04233
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000271-24
Citation, if reported: N/A
55. | Case Name: Atlas Data Privacy Corporation, et al. v. Whitepages, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-03998
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000270-24
Citation, if reported: N/A
56. | Case Name: Atlas Data Privacy Corporation, et al. v. Acxiom LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:2024-cv-04107
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000283-24
Citation, if reported: N/A
57. | Case Name: Atlas Data Privacy Corporation, et al. v. Hiya, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04000
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Mercer County
Docket Number: MER-L-000285-24
Citation, if reported: N/A
58. | Case Name: Atlas Data Privacy Corporation, et al. v. 6Sense Insights, Inc., et
al.
Appellate Docket: N/A
D.C. Docket No.: 1:2024-cv-04104
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-000988-24
Citation, if reported: N/A
59. | Case Name: Atlas Data Privacy Corporation, et al. v. DM Group, Inc. et al.
Appellate Docket: 25-155

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Citation, if reported:

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Jersey, Law Division, Middlesex County

MID-L-000990-24

N/A

60. | Case Name: Atlas Data Privacy Corporation, et al. v. First American
Financial Corp., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-05334
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-000915-24
Citation, if reported: N/A
61. | Case Name: Atlas Data Privacy Corporation, et al. v. Outside Interactive, Inc.,
et al.*
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04969
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-000849-24
Citation, if reported: N/A
62. | Case Name: Atlas Data Privacy Corporation, et al. v. Red Violet, Inc. et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04113
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000482-24
Citation, if reported: N/A
63. | Case Name: Atlas Data Privacy Corporation, et al. v. Search Quarry, LLC, et
al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04106
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-0005 16-24
Citation, if reported: N/A
64. | Case Name: Atlas Data Privacy Corporation, et al. v. Data Axle, Inc., et al.
Appellate Docket: N/A

D.C. Docket No.:

Court or Agency No.:

1:24-cv-04181
District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County

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Citation, if reported:

MON-L-000483-24
N/A

65. | Case Name: Atlas Data Privacy Corporation, et al. v. Wiland, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04442
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000577-24
Citation, if reported: N/A
66. | Case Name: Atlas Data Privacy Corporation, et al. v. Peopleconnect, Inc., et
al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04227
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000484-24
Citation, if reported: N/A
67. | Case Name: Atlas Data Privacy Corporation, et al. v. People Data Labs, Inc.,
et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04171
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-0005 15-24
Citation, 1f reported: N/A
68. | Case Name: Atlas Data Privacy Corporation, et al. v. Epsilon Data
Management, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:2024-cv-04168
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Monmouth County
Docket Number: MON-L-000533-24
Citation, if reported: N/A
69. | Case Name: Atlas Data Privacy Corporation, et al. v. Spokeo, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04299
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000227-24
Citation, if reported: N/A
70. | Case Name: Atlas Data Privacy Corporation, et al. v. Remine, Inc., et al.

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Docket Number:
Citation, if reported:

N/A

1:24-cv-04182

District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Morris County

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N/A

71. | Case Name: Atlas Data Privacy Corporation, et al. v. Telnyx LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04354
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000260-24
Citation, if reported: N/A
72. | Case Name: Atlas Data Privacy Corporation, et al. v. Commercial Real Estate
Exchange, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04073
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000271-24
Citation, if reported: N/A
73. | Case Name: Atlas Data Privacy Corporation, et al. v. Twilio, Inc. et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04095
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000226-24
Citation, if reported: N/A
74. | Case Name: Atlas Data Privacy Corporation, et al. v. Blackbaud, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-03993
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Morris County
Docket Number: MRS-L-000243-24
Citation, if reported: N/A
75. | Case Name: Atlas Data Privacy Corporation, et al. v. Delvepoint, LLC, et al.
Appellate Docket: 24-8046

D.C. Docket No.:

1:24-cv-04096

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New Jersey, Law Division, Morris County
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N/A

76. | Case Name: Atlas Data Privacy Corporation, et al. v. Constella Intelligence,
Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 2:24-cv-10571
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Essex County
Docket Number: ESX-L-007212-24
Citation, if reported: N/A
77. | Case Name: Atlas Data Privacy Corporation, et al. v. Carco Group, Inc., et
al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04077
Court or Agency No.: District of New Jersey remanded back to Superior Court of
New Jersey, Law Division, Morris County
Docket Number: MRS-L-000270-24
Citation, if reported: N/A
78. | Case Name: Atlas Data Privacy Corporation, et al. v. Syne.Me Technologies,
Ltd., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000822-24
Citation, if reported: N/A
79. | Case Name: Atlas Data Privacy Corporation, et al. v. Sagewire Research
LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000869-24
Citation, if reported: N/A
80. | Case Name: Atlas Data Privacy Corporation, et al. vy. Unmask LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-0008 15-24

Citation, if reported:

N/A

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81. | Case Name: Atlas Data Privacy Corporation, et al. v. Swordfish Ai I, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000794-24
Citation, if reported: N/A

82. | Case Name: Atlas Data Privacy Corporation, et al. v. Boundary Solution, et
Appellate Docket: al.
D.C. Docket No.: N/A
Court or Agency No.: N/A
Docket Number: Superior Court of New Jersey, Law Division, Bergen County
Citation, if reported: BER-L-000793-24

N/A

83. | Case Name: Atlas Data Privacy Corporation, et al. v. Intelage System, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000772-24
Citation, if reported: N/A

84. | Case Name: Atlas Data Privacy Corporation, et al. v. Onxmaps, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-0008 13-24
Citation, if reported: N/A

85. | Case Name: Atlas Data Privacy Corporation, et al. v. Social Catfish, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000769-24
Citation, if reported: N/A

86. | Case Name: Atlas Data Privacy Corporation, et al. v. Officialusa.com, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000849-24
Citation, if reported: N/A

87. | Case Name: Atlas Data Privacy Corporation, et al. v. Main Street Re, et al.*
Appellate Docket: N/A

D.C. Docket No.:

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N/A

88. | Case Name: Atlas Data Privacy Corporation, et al. v. Costar Group, et al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04111
Court or Agency No.: District of New Jersey remanded back to Superior Court of
New Jersey, Law Division, Bergen County
Docket Number: BER-L-000770-24
Citation, if reported: N/A
89. | Case Name: Atlas Data Privacy Corporation, et al. v. National Search
Association, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000866-24
Citation, if reported: N/A
90. | Case Name: Atlas Data Privacy Corporation, et al. v. Amsive, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000918-24
Citation, if reported: N/A
91. | Case Name: Atlas Data Privacy Corporation, et al. vy. Usphonesearch, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000970-24
Citation, if reported: N/A
92. | Case Name: Atlas Data Privacy Corporation, et al. v. Edvisors Network, et
al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000971-24
Citation, if reported: N/A
93. | Case Name: Atlas Data Privacy Corporation, et al. v. Innovative Web, et al.
Appellate Docket: N/A

D.C. Docket No.:

Court or Agency No.:

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Jersey, Law Division, Bergen County

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Docket Number: N/A
Citation, if reported:
94. | Case Name: Atlas Data Privacy Corporation, et al. v. Mylife.Com, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-000768-24
Citation, if reported: N/A
95. | Case Name: Atlas Data Privacy Corporation, et al. v. Mapright Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Bergen County
Docket Number: BER-L-0008 18-24
Citation, if reported: N/A
96. | Case Name: Atlas Data Privacy Corporation, et al. v. Greenflight Venture
Corp., et al.
Appellate Docket: 25-8014
D.C. Docket No.: 1:25-cv-01517
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Bergen County
Docket Number: BER-L-0008 11-24
Citation, if reported: N/A
97. | Case Name: Atlas Data Privacy Corporation, et al. vy. Attom Data Solutions,
LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-000273-24
Citation, if reported: N/A
98. | Case Name: Atlas Data Privacy Corporation, et al. v. Lucky2Media, LLC, et
al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-000286-24
Citation, if reported: N/A
99. | Case Name: Atlas Data Privacy Corporation, et al. Vs Dynata LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-000308-24

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Citation, if reported:

N/A

100. | Case Name: Atlas Data Privacy Corporation, et al. v. Previlon, LLC, et al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-000294-24
Citation, if reported: N/A

101. | Case Name: Atlas Data Privacy Corporation, et al. v. Scsd Holdings, et al.**
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-000299-24
Citation, if reported: N/A

102. | Case Name: Atlas Data Privacy Corporation, et al. v. Adstra, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-0003 11-24
Citation, if reported: N/A

103. | Case Name: Atlas Data Privacy Corporation, et al. v. Cocofinder.Com, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-0003 19-24
Citation, if reported: N/A

104. | Case Name: Atlas Data Privacy Corporation, et al. v. Areaplot, LLC, et al.**
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Mercer County
Docket Number: MER-L-000320-24
Citation, if reported: N/A

105. | Case Name: Atlas Data Privacy Corporation, et al. v. First Direct, Inc., et al.
Appellate Docket: 25-8013
D.C. Docket No.: 1:25-cv-01480
Court or Agency No.: District of New Jersey removed from Superior Court of New

Jersey, Law Division, Mercer County

Docket Number: MER-L-000328-24
Citation, if reported: N/A

106. | Case Name: Atlas Data Privacy Corporation, et al. v. Telephonedirect, et al.

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Court or Agency No.:

Docket Number:

Citation, if reported:

N/A

N/A

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N/A

107. | Case Name: Atlas Data Privacy Corporation, et al. v. Vonage Holding, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Essex County
Docket Number: ESX-L-0007208-24
Citation, if reported: N/A

108. | Case Name: Atlas Data Privacy Corporation, et al. v. Cole Information, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Essex County
Docket Number: ESX-L-0007209-24
Citation, if reported: N/A

109. | Case Name: Atlas Data Privacy Corporation, et al. v. Drivenig Corporation,

et al.

Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Essex County
Docket Number: ESX-L-0007211-24
Citation, if reported: N/A

110. | Case Name: Atlas Data Privacy Corporation, et al. v. Peachtree Data, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Essex County
Docket Number: ESX-L-0007259-24
Citation, if reported: N/A

111. | Case Name: Atlas Data Privacy Corporation, et al. v. Insidere, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-00099 1 -24
Citation, if reported: N/A

112. | Case Name: Atlas Data Privacy Corporation, et al. v. Giant Partners, et al.
Appellate Docket: N/A

D.C. Docket No.:

Court or Agency No.:

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Citation, if reported:

MID-L-000989-24
N/A

113. | Case Name: Atlas Data Privacy Corporation, et al. v. Infopay, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-0008 15-24
Citation, if reported: N/A

114. | Case Name: Atlas Data Privacy Corporation, et al. v. True Software

Scandinavia AB, et al.*

Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-0008 12-24
Citation, if reported: N/A

115. | Case Name: Atlas Data Privacy Corporation, et al. v. Radaris, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-000847-24
Citation, if reported: N/A

116. | Case Name: Atlas Data Privacy Corporation, et al. v. Glad I Know, Inc., et

al.*

Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-000850-24
Citation, if reported: N/A

117. | Case Name: Atlas Data Privacy Corporation, et al. v. Allpeople.Com, et al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-000898-24
Citation, if reported: N/A

118. | Case Name: Atlas Data Privacy Corporation, et al. vy. Revealname.com, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-000901-24

Citation, if reported:

N/A

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119. | Case Name: Atlas Data Privacy Corporation, et al. v. Verisk Analytics, Inc.,
et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-000903-24
Citation, if reported: N/A
120. | Case Name: Atlas Data Privacy Corporation, et al. vy. Owmn, Ltd., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-000992-24
Citation, if reported: N/A
121. | Case Name: Atlas Data Privacy Corporation, et al. v. Peoplewhiz, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: 1:25-cv-00237
Court or Agency No.: District of New Jersey removed from Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-001063-24
Citation, if reported: N/A
122. | Case Name: Atlas Data Privacy Corporation, et al. v. Teltech Systems, Inc., et
al.
Appellate Docket: N/A
D.C. Docket No.: 1:24-cv-04217
Court or Agency No.: District of New Jersey remanded back to Superior Court of New
Jersey, Law Division, Middlesex County
Docket Number: MID-L-000859-24
Citation, if reported: N/A
123. | Case Name: Atlas Data Privacy Corporation, et al. v. NJ Property Records,
etal.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Middlesex County
Docket Number: MID-L-0008 11-24
Citation, if reported: N/A
124. | Case Name: Atlas Data Privacy Corporation, et al. v. Wellnut.Com, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-0005 12-24

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Citation, if reported:

N/A

125. | Case Name: Atlas Data Privacy Corporation, et al. v. Kawasaki Peter et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-000517-24
Citation, if reported: N/A

126. | Case Name: Atlas Data Privacy Corporation, et al. v. PIPL, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-00048 1-24
Citation, if reported: N/A

127. | Case Name: Atlas Data Privacy Corporation, et al. vy. LTRAC, LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-000694-24
Citation, if reported: N/A

128. | Case Name: Atlas Data Privacy Corporation, et al. v. Neighbor.Report, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-000537-24
Citation, if reported: N/A

129. | Case Name: Atlas Data Privacy Corporation, et al. v. Batchservice LLC, et

al.

Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-000485-24
Citation, if reported: N/A

130. | Case Name: Atlas Data Privacy Corporation, et al. v. Checkpeople, LLC, et

al.

Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-000506-24

Citation, if reported:

N/A

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131. | Case Name: Atlas Data Privacy Corporation, et al. v. Specialists Marketing
Services, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Monmouth County
Docket Number: MON-L-000539-24
Citation, if reported: N/A
132. | Case Name: Atlas Data Privacy Corporation, et al. v. Databaseusa.Com, et
al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000230-24
Citation, if reported: N/A
133. | Case Name: Atlas Data Privacy Corporation, et al. v. Callersmart Inc., et al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000237-24
Citation, if reported: N/A
134. | Case Name: Atlas Data Privacy Corporation, et al. v. Skopenow, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-00024 1-24
Citation, if reported: N/A
135. | Case Name: Atlas Data Privacy Corporation, et al. v. Dehashed.Com, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000242-24
Citation, if reported: N/A
136. | Case Name: Atlas Data Privacy Corporation, et al. v. Locateplus Holdngs
Corp, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000247-24
Citation, if reported: N/A
137. | Case Name: Atlas Data Privacy Corporation, et al. v. Vericora.Com, et al.*

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Court or Agency No.:

Docket Number:

Citation, if reported:

N/A

N/A

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MRS-L-000249-24

N/A

138. | Case Name: Atlas Data Privacy Corporation, et al. v. The Open Data, et al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000325-24
Citation, if reported: N/A

139. | Case Name: Atlas Data Privacy Corporation, et al. v. Clustrmaps.Com, et al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000256-24
Citation, if reported: N/A

140. | Case Name: Atlas Data Privacy Corporation, et al. v. Spycloud, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000263-24
Citation, if reported: N/A

141. | Case Name: Atlas Data Privacy Corporation, et al. v. Thryv, Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000261-24
Citation, if reported: N/A

142. | Case Name: Atlas Data Privacy Corporation, et al. v. Information.com, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000245-24
Citation, if reported: N/A

143. | Case Name: Atlas Data Privacy Corporation et al. v. Zenleads Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000228-24

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Case: 25-1585

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Citation, if reported:

N/A

144. | Case Name: Atlas Data Privacy Corporation, et al. v. Reipro LLC, et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-00023 1-24
Citation, if reported: N/A

145. | Case Name: Atlas Data Privacy Corporation, et al. v. 411 Info Corp., et al.*
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000229-24
Citation, if reported: N/A

146. | Case Name: Atlas Data Privacy Corporation, et al. v. Agr Group Inc., et al.
Appellate Docket: N/A
D.C. Docket No.: N/A
Court or Agency No.: Superior Court of New Jersey, Law Division, Morris County
Docket Number: MRS-L-000483-24

Citation, if reported:

N/A

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